Case: 1:17-md-02804-DAP Doc #: 2212-6 Filed: 08/13/19 1 of 7. PageID #: 335751




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Case: 1:17-md-02804-DAP Doc #: 2212-6 Filed: 08/13/19 2 of 7. PageID #: 335752
Case: 1:17-md-02804-DAP Doc #: 2212-6 Filed: 08/13/19 3 of 7. PageID #: 335753
Case: 1:17-md-02804-DAP Doc #: 2212-6 Filed: 08/13/19 4 of 7. PageID #: 335754
Case: 1:17-md-02804-DAP Doc #: 2212-6 Filed: 08/13/19 5 of 7. PageID #: 335755
Case: 1:17-md-02804-DAP Doc #: 2212-6 Filed: 08/13/19 6 of 7. PageID #: 335756
Case: 1:17-md-02804-DAP Doc #: 2212-6 Filed: 08/13/19 7 of 7. PageID #: 335757
